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 2
                              UNITED STATES DISTRICT COURT
 3
                                 EASTERN DISTRICT OF CALIFORNIA
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 5
 6    UNITED STATES OF AMERICA,                        Case No. 1:11-CR-00354-LJO-5
 7                            Plaintiff,
                                                       ORDER REFERRING CASE TO FEDERAL
 8           v.                                        DEFENDER’S OFFICE
 9    JONATHAN OMAR MARIN MOJARRO,
10                            Defendant.
                                                       (Doc. 629)
11
12
13          Defendant has filed a pro se motion to reduce sentence pursuant to Title 18, United States

14 Code, Section 3582(c)(2) (“Section 3582 Motion”). See Doc. 629. Pursuant to Eastern District of
15 California General Order 546, the Federal Defender’s Office (“FDO”) is hereby appointed to
16 represent Defendant in this matter. The FDO SHALL have 90 days from the filing date of this
17 Order, on or before March 21, 2016, to file a supplement to Defendant’s pro se Section 3582
18 Motion or to notify the Court that it does not intend to file a supplement to the motion. Thereafter,
19 the government SHALL have 30 days from the date of the FDO’s filing to file a response to
20 Defendant’s Section 3582 Motion.
21
   IT IS SO ORDERED
22 Dated: December 22, 2015
                                                       /s/ Lawrence J. O’Neill
23
                                                      United States District Judge
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